Case 3:24-cv-02311-TSH   Document 57-9   Filed 10/08/24   Page 1 of 9




             EXHIBIT 9
               Case 3:24-cv-02311-TSH             Document 57-9         Filed 10/08/24       Page 2 of 9




From:                               Dyanna Volek (AIR) <Dyanna.Volek@flysfo.com>
Sent:                               Thursday, April 4, 2024 10:16 AM
To:                                 Cathy Widener (AIR); Doug Yakel (AIR); Melissa Andretta (AIR); Charles Schuler (AIR)
                                    (he/him/his); Grier Mathews (AIR)
Subject:                            RE: OAK



1:30 works for me as well!

I found the woman, Tonia Dumas, who started the petition on X: https://twitter.comiluvoakIndsports?lang=en

Interestingly, she retweeted some Alaska Flight Attendants content late last year. She might have an aviation
and Oakland pride connection and could be someone to get people out at the Port meeting.




Dyanna Volek (preferred pronouns: she/her/hers)
Manager I Government Affairs



From: Cathy Widener (AIR) <Cathy.Widener@flysfo.com>
Sent: Thursday, April 4, 2024 10:11 AM
To: Doug Yakel (AIR) <Doug.Yakel@flysfo.com>; Melissa Andretta (AIR) <melissa.andretta@flysfo.com>; Charles Schuler
(AIR) (he/him/his) <Charles.Schuler@flysfo.com>; Dyanna Volek (AIR) <Dyanna.Volek@flysfo.com>; Grier Mathews (AIR)
<grier.mathews@flysfo.com>
Subject: RE: OAK

Yep.




Cathy Widener
Chief External Affairs Officer
San Francisco International Airport I P.O. Box 8097 I San Francisco, CA 94128
650-821-5023 I I flysfo.com




From: Doug Yakel (AIR) <Doug.Yakel@flysfo.com>
Sent: Thursday, April 4, 2024 10:10 AM
To: Melissa Andretta (AIR) <rnelissa.andretta@flvsfo.com>; Charles Schuler (AIR) (he/him/his)
<Charies.Schuier@flysfo.com>; Dyanna Volek (AIR) <Dyanna.Volek@flysfo.corn>; Cathy Widener (AIR)




                                                                                                        CCSF (PRA)-001521
                  Case 3:24-cv-02311-TSH              Document 57-9       Filed 10/08/24       Page 3 of 9

<Cathv.Widener@flysfo.com>; Grier Mathews (AIR) <grier.mathews@flysfo.com>
Subject: RE: OAK

1:30 works


Doug Yakel
     —rrnation Officer I External Affairs Office
San Francisco InternPv, ..I Airport P.O. Box 8097 San Francisco, CA 94128
Tel 650-821-4000 I flysfo.com

Facebook I Twitter I YouTube I Instagram I LinkedIn


From: Melissa Andretta (AIR) <melissa.andretta@flysfo.com>
Sent: Thursday, April 4, 2024 10:10 AM
To: Charles Schuler (AIR) (he/him/his) <Charles.Schuler@flysfo.com>; Dyanna Volek (AIR) <Dvanna.Volek@flvsfo.com>;
Cathy Widener (AIR) <Cathy.Widener@flysfo.com>; Grier Mathews (AIR) <grier.mathews@flysfo.com>
Cc: Doug Yakel (AIR) <Doug.Yakel@flysfo.com>
Subject: RE: OAK

Agreed. Would 1:30 pm work for a call/gathering for everyone? Even if just some of us can make it — he's great to
bounce ideas off of and excels in this area.

This is a critical issue for our international passengers/inbound international marketing so it falls within Gutenberg's
scope.




Melissa Andretta
           __ion Marketing and Development
San Francisco International Airport P.O. D-- ctria7 San Francisco. CA 94128
Tel 650-821-5049 I Mob 650-455-9502 flysfo.com

Facebook Twitter YouTube Instagram Linkedln


From: Charles Schuler (AIR) (he/him/his) <Charles.Schuler@flysfo.com>
Sent: Thursday, April 4, 2024 10:08 AM
To: Melissa Andretta (AIR) <melissa.andretta@flysfo.com>; Dyanna Volek (AIR) <Dyanna.Volek@flysfo.com>; Cathy
Widener (AIR) <Cathy.Widener@flysfo.com>; Grier Mathews (AIR) <grier.mathews@fiysfo.com>
Cc: Doug Yakel (AIR) <Doug.Yakei@flysfo.com>
Subject: RE: OAK

Kevin is an excellent resource!




                                                              2




                                                                                                          CCSF (PRA)-001522
               Case 3:24-cv-02311-TSH             Document 57-9          Filed 10/08/24       Page 4 of 9
Charles Schuler (he/him)
Di,                  .... Communications I External Affairs
San Francisco International Airport P.O. Box 8097
San Francisco, CA PA1`)ct
Tel 650-821-5031 flysfo.com

Facebook Twitter YouTube Instagram Linkedln


From: Melissa Andretta (AIR) <-1 -,licca.andretta@flvsfo.com>
Sent: Thursday, April 4, 2024 10:07 AM
To: Charles Schuler (AIR) (he/him/his) <Charles.SchulPrPflysfo.com>; Dyanna Volek (AIR) <Dyanna.Volek@flysfo.com>;
Cathy Widener (AIR) <         Videner@flysfo.com>; Grier Mathews (AIR) <grier.mathews@flvsfo.com>
Cc: Doug Yakel (AIR) <Doug.Yakel@flysfo.com>
Subject: RE: OAK

We should get a famous Oaklander (Marshawn Lynch, Green Day members, Zendaya, etc. to repost this survey). Ditto
with the Al response. We could try to get JV.Jets to repost that. We should also reach out to our plane spotters and
might be able to leverage the LA Flights guys — I have a good relationship with them.

I can organize a call with Kevin Elliott later today — he's quite good at organizing brainstorming around this and it might
be good to have us all in the same room (or on same Teams call) to come up with a strategy. I think it's good to hear an
outside perspective too since we are so involved/passionate about this (for obvious reasons).

Let me know.

Mel




Melissa Andretta
u..            ion Marketing and Development
San Francisco International Airport P.O. Pr- Ana7 San Francisco, CA 94128
Tel 650-821-5049 I Mob 650-455-9502 flysfo.com

Facebook Twitter YouTube Instagram Linkedln


From: Charles Schuler (AIR) (he/him/his) <Charles.Schuler@flysfo.com>
Sent: Thursday, April 4, 2024 10:03 AM
To: Dyanna Volek (AIR) <Dvanna.Volek@flvsfo.com>; Cathy Widener (AIR) <Cathv.Widener@flvsfo.com>; Grier Mathews
(AIR) <grier.mathews@flysfo.com>
Cc: Melissa Andretta (AIR) <melissa.andretta@flvsfo.com>; Doug Yakel (AIR) <Doug.Yakel@flvsfo.com>
Subject: RE: OAK

Heck ya!

There is also a petition on change.org we could promote
Petition • Prevent the Renaming of Metropolitan Oakland International Airport - United States • Change.org




                                                              3




                                                                                                         CCSF (PRA)-001523
                Case 3:24-cv-02311-TSH            Document 57-9     Filed 10/08/24      Page 5 of 9




Charles Schuler (he/him)
Di.                    Communications I External Affairs
San Francisco International Airport P.O. Box 8097
San Francisco, CA '2'1"R
Tel 650-821-5031 flysfo.com

Facebook Twitter YouTube Instagram Linkedln


From: Dyanna Volek (AIR) <Dyanna.Volek@flysfo.com>
Sent: Thursday, April 4, 2024 9:57 AM
To: Charles Schuler (AIR) (he/him/his) <Charles.Schuler@flvsfo.com>; Cathy Widener (AIR)
<Cathy.Widener@flysfo.ccrn>; Grier Mathews (AIR) <grier.riathews@flysfi im>
Cc: Melissa Andretta (AIR) <melissa.andretta@flysfo.com>; Doug Yakel (AIR) <Doug.Yakel@flysfo.com>
Subject: Re: OAK


Wow! Can we post that on social media? •




Dyanna Volek (preferred pronouns. she/her/hers)
         Jovernment    Affairs




From: Charles Schuler (AIR) (he/him/his) <Charles.Schuler@flysfo.com>
Sent: Thursday, April 4, 2024 9:52:57 AM
To: Cathy Widener (AIR) <Cathy.Widener@flysfo.com>; Grier Mathews (AIR) <grier.mathews@flysfo.corn>
Cc: Melissa Andretta (AIR) <melissa.andretta@flysfo.corn>; Doug Yakel (AIR) <Doug.Yakel@flysfo.com>; Dyanna Volek
(AIR) <L
Subject: RE: OAK

What Al says ....




                                                           4




                                                                                                  CCSF (PRA)-001524
                  Case 3:24-cv-02311-TSH                  Document 57-9            Filed 10/08/24         Page 6 of 9

 ChatGPT 3.5 -


                                           You
                                           Is renaming OAK to San Francisco Bay Oakland International Airport a good idea?



                                           ChatGPT
                                           Renaming Oakland International Airport to "San Francisco Bay Oakland International] Airpo
                                           could potentially create confusion for travelers. While Oakland International Airport serves
                                           San Francisco Day Area, it is located in Oakland and serves as the primary airport for the
                                           region. Renaming it in a way that emphasizes its connection to San Francisco Day could imi
                                           it is located in San Francisco, which may lead to misunderstandings for travelers unfamiliar
                                           the area.


                                           Moreover, renaming an established airport can be a complex process involving legal, log ist
                                           and branding considerations. It would require approval from various stakeholders, includin!
                                           airport authority, local government, airlines, and possibly federal aviation authorities.


                                           Ultimately, whether renaming the airport is a good idea depends on various factors, includii
                                           public opinion, potential benefits, and practical implications. It would likely require thoroug
                                           research, consultation, and careful consideration before any decision is made,




         _...0001•11
Charles Schuler (he/him)
Director of Marketing & Communications I External Affairs
San Francisco International Airport I P.O. Box 8097
San Francisco, CA 94128
Tel 650-821-5031 flysfo.com

Facebook I Twitter I YouTube I Instagram I Linkedln


From: Cathy Widener (AIR) <Cathy.Widener@flysfo.com>
Sent: Thursday, April 4, 2024 9:46 AM
To: Charles Schuler (AIR) (he/him/his) <Charles.Schuler@flysfo.com>; Grier Mathews (AIR) <grier.mathews@flysfo.com>
Cc: Melissa Andretta (AIR) <melissa.andretta@flysfo.com>; Doug Yakel (AIR) <Doug.Yakel@flysfo.com>; Dyanna Volek
(AIR) <Dyanna.Volek@flysfo.com>
Subject: OAK

There is an expectation/request from Ivar to get more aggressive on socails with the OAK confusion messaging. Do we
start to amplify some of the responses we're seeing to various posts calling out the lack of Oakland pride and/or
confusion (see Charles' screenshot below). The idea is to try and get people engaged in issue to show up at the Port
Commission meeting for public comment next week and I'm honestly at a loss on how to organize this. I've made the

                                                                      5




                                                                                                                      CCSF (PRA)-001525
               Case 3:24-cv-02311-TSH             Document 57-9          Filed 10/08/24        Page 7 of 9

point that we very deliberately keep our social media messaging at a high level, but want to explore this a bit to see if
you think ramping it up might help engage members of the public.

Melissa (cc'd here) mentioned that she still has some resources in her H+K contract that could potentially help organize
this... are we able to leverage our emails list of people who have entered various contests, etc. I truly don't know how to
get people to take time out of their day at 3:30 on a Thursday - there is a zoom link option to publicly comment, which
makes it a bit easier but we also need to keep some distance from this. It seems unrealistic that we are going to be able
to "activate" members of the public around confusion and/or Oakland pride, but am turning to you all to see if you have
ideas I'm not thinking of.

I'd like to build on the social media strategy Charles and Grier proposed earlier in the week (copied below) and engage
Commissioner Natoli (when she's back from vacation) to respond to some of the Port posts (ie: Michael Colbruno,
etc.) as well as repost/elevate the Alaksa (UA promises to have something we can share early next week), Chamber, SF
Travel and Visit CA messaging into this plan as well.

Let me know what you think.
Thanks.

Social Media & Digital Messaging
GOALS & OBJECTIVES
    ? Express our opposition to the action
            o Post lvar's statement on social media
            o Monitor comments and responses.
            o Like, highlight, repost comments that support our position.
    ? Find allies and influencers to chime in.
            o SF Travel?
            o United Airlines?
            o SF Politicians
    ? Take the highroad. Keep professional tone. (This is where we may need to shift a little)
    ? Establish a hashtag slogan, like #SFOisSanFrancisco to track comments
    ? Develop key word search strategy to strengthen SFO organic results for:
            o San Francisco Bay Airport
            o San Francisco Bay International Airport
            o San Francisco Bay Area Airport
            o Bay Area Airport
    ? Social Media posts highlighting SFO's competitive advantages
            o Covered parking
            o BART directly into terminal
            o Ability for inbound customers to interline to Alliance and other airlines (WN does not support interline)
            0



And BTW, their 2 international carriers do not do a good job at explaining OAK to begin with ....




                                                             6




                                                                                                         CCSF (PRA)-001526
                        Case 3:24-cv-02311-TSH                                  Document 57-9                   Filed 10/08/24   Page 8 of 9

volaris +                                                                                                       English / $


Flights      Packages    My trips     Check-in   Flight Status                               Travel guide   Volaris Global


                                                                                                FLEXIBILITY
 =II                 One way                                                                           Add unlimited
                                                                                                       flight changes!




     Mexico City (All ...
                     Orrin                               Select your destination



                                                 bhyy IR,A
   M      Mon. Apr 1, 2024                            Thu, Apr 4, 2024



                                                 Have a Promocode? (optional)
   1 Adul:



                                                         Where are you traveling from?


                                                                 oakl

                                                             Oakland/San Francisco              OAK


                                                           San Francisco Bay                    Q.SE

The best fares from Vol
 corn: Mexico City (AICM) m         Budget m




                                                         View all our destinations




                   BOOK                   CHECK-IN            FLIGHT STATUS           MY TRIP          I


                4 " FLIGHT             HOTEL           CAR       .a      ACTIVITIES             =.•




                FROM
                                                 X               TO
                oak]


                 Metropolitan Oakland            OAK




                                                                                         7




                                                                                                                                         CCSF (PRA)-001527
             Case 3:24-cv-02311-TSH          Document 57-9        Filed 10/08/24   Page 9 of 9




Cathy Widener
Chief External Affairs Officer
San Francisco International Airport I P.O. Box 8097 I San Francisco, CA 94128
650-821-5023 I I flysfo.com




                                                       8




                                                                                           CCSF (PRA)-001528
